 17-10751-mew             Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12                                                                          Exhibit
                                  Time Entries Part 2 Pg 1 of 55
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      September 28, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3426894
Cranberry Township, PA 16066                                                         Services Through                      :      August 31, 2017




0236915.00036           Internal Investigation


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $         34,948.00
Disbursements and Other Charges                                                                                                          $          6,285.19

CURRENT INVOICE DUE                                                                                                                      $         41,233.19




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
 17-10751-mew    Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12         Exhibit
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                                    FEES

DATE       NAME             HRS TASK       DESCRIPTION                     AMOUNT
08/01/17   S. A. Bronder    1.50 P280      Meet with T. Ryan, A.             555.00
                                           Cashman, D. Miller, and L.
                                           Diersen regarding data
                                           collection and review
08/01/17   S. A. Bronder    0.40 P280      Exchange emails regarding          148.00
                                           revised privilege log
08/01/17   S. A. Bronder    0.20 P280      Confer with A. Cashman               74.00
                                           regarding next steps
08/01/17   A. R. Cashman    4.10 L120      Coordinate response to           1,517.00
                                           PwC eMedia questions
08/01/17   T. C. Ryan       6.70 L110      Follow up on various             4,690.00
                                           requests from auditor to
                                           closeout investigation
08/01/17   T. C. Ryan       0.60 L110      Conference with auditor            420.00
08/01/17   T. C. Ryan       1.10 L120      Conference with client             770.00
                                           regarding closeout to
                                           investigation
08/01/17   N. A. Stockey    1.10 L120      Review ESI collection and          407.00
                                           document review activities
                                           per T. Ryan and draft
                                           summary of same
08/02/17   S. A. Bronder    0.20 P280      Confer with auditor                  74.00
                                           regarding document
                                           production
08/02/17   S. A. Bronder    0.70 P280      Review documents                   259.00
                                           provided to auditor and
                                           revise privilege log
                                           accordingly
08/02/17   S. A. Bronder    0.70 P280      Review emails from A.              259.00
                                           Cashman regarding
                                           documents identified during
                                           review
08/02/17   A. R. Cashman    0.50 L120      Conference with T. Ryan            185.00
                                           regarding status of
                                           investigation and
                                           completion of report
08/02/17   A. R. Cashman    1.40 L120      Coordinate response to             518.00
                                           PwC eMedia review of
                                           internal investigation
                                           document collection and
                                           review
08/02/17   T. C. Ryan       0.40 L110      Conference with auditor            280.00
                                           regarding QC procedures
08/02/17   T. C. Ryan       1.10 L120      Conference with client             770.00
08/02/17   T. C. Ryan       0.40 L120      Conference with Ankura on          280.00
                                           status of investigation/audit
08/03/17   S. A. Bronder    1.00 P280      Confer with T. Ryan, A.            370.00
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DATE       NAME              HRS TASK      DESCRIPTION                      AMOUNT
                                           Cashman and e-DAT team
                                           regarding document
                                           collection reports for auditor
08/03/17   S. A. Bronder     1.00 P280     Arrange for redactions of           370.00
                                           draft report
08/03/17   A. R. Cashman     2.50 L110     Coordinating response to            925.00
                                           PwC’s requests for its
                                           eMedia review to the
                                           internal investigation
08/03/17   A. R. Cashman     1.20 L120     Conference with T. Ryan,            444.00
                                           S. Bronder, and L. Diersen
                                           regarding PwC's requests
                                           for its eMedia review of the
                                           internal investigation
08/03/17   E. D. Phillips    2.60 L650     Analyze documents for               962.00
                                           redaction
08/03/17   T. C. Ryan        4.40 L120     Address follow-up requests        3,080.00
                                           related to auditor QC
                                           process
08/03/17   N. A. Stockey     0.90 L120     Confer with S. Bronder              333.00
                                           regarding redactions
08/03/17   N. A. Stockey     0.50 L120     Begin to analyze materials          185.00
                                           and insert redactions
08/04/17   S. A. Bronder     1.20 P280     Review, revise and apply            444.00
                                           redactions to prior report as
                                           attachment to current report
08/04/17   A. R. Cashman     0.40 L120     Confer with S. Bronder              148.00
                                           regarding preparation of
                                           final report
08/04/17   E. D. Phillips    0.90 L650     Analyze documents for               333.00
                                           redaction
08/04/17   T. C. Ryan        2.40 L110     Address follow-up requests        1,680.00
                                           from auditor regarding draft
                                           report and quality control
                                           procedures
08/04/17   N. A. Stockey     1.80 L120     Continue to analyze                 666.00
                                           materials, including
                                           investigation report and
                                           exhibits and redact
                                           references to claimant
                                           and/or her/his position
08/07/17   T. C. Ryan        0.40 L120     Conference with client              280.00
                                           regarding status of
                                           audit/investigation
08/07/17   N. A. Stockey     1.70 L120     Analyze reports and                 629.00
                                           attachments for and
                                           redactions
08/08/17   S. A. Bronder     0.20 P280     Confer with A. Cashman                74.00
                                           regarding potential
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DATE       NAME              HRS TASK      DESCRIPTION                     AMOUNT
                                           document review
08/08/17   A. R. Cashman     2.50 L120     Legal research regarding           925.00
                                           contract interpretation issue
08/09/17   A. R. Cashman     0.60 L120     Conference with T. Ryan            222.00
                                           and client regarding
                                           external auditor opinion on
                                           financial statements
08/10/17   T. C. Ryan        0.60 L120     Correspond with audit              420.00
                                           committee chairman
08/10/17   T. C. Ryan        0.50 L120     Conference with client on          350.00
                                           status of parent company
                                           audit process
08/14/17   A. R. Cashman     0.70 L120     Confer with T. Ryan and S.         259.00
                                           Bronder regarding status of
                                           the investigation and
                                           finalizing investigative
                                           report
08/15/17   S. A. Bronder     0.80 P280     Draft narrative response to        296.00
                                           subpoena requests
08/15/17   T. C. Ryan        0.70 L120     Conference with auditor            490.00
08/15/17   T. C. Ryan        0.70 L120     Conference with client             490.00
08/15/17   T. C. Ryan        0.50 L120     Strategy e-mail to client          350.00
                                           regarding close out of
                                           investigation
08/16/17   T. C. Ryan        1.80 L120     Address follow-up requests       1,260.00
                                           from auditor for QC review
08/17/17   A. R. Cashman     0.30 L120     Confer with external auditor       111.00
                                           regarding requests for
                                           eMedia review of
                                           documents collected and
                                           reviewed during
                                           investigation
08/17/17   A. R. Cashman     0.60 L120     Coordinate preparation of          222.00
                                           information requested by
                                           external auditor for eMedia
                                           review by external auditor
08/18/17   A. R. Cashman     2.20 L120     Coordinate PwC eMedia              814.00
                                           review of documents
                                           collected and reviewed
                                           during internal investigation
08/18/17   A. R. Cashman     1.50 L120     Review investigation               555.00
                                           document collections and
                                           analyze bankruptcy UCC
                                           document requests to
                                           determine plan of action for
                                           response
08/21/17   A. R. Cashman     0.80 L120     Conference with T. Ryan            296.00
                                           regarding status and PwC
                                           eMedia review request
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DATE       NAME                HRS TASK     DESCRIPTION                     AMOUNT
08/21/17   A. R. Cashman       0.20 L120    Confer with L. Diersen and        74.00
                                            J. Chiccarino regarding
                                            PwC eMedia request
08/21/17   A. R. Cashman        1.30 L120   Review data to respond to         481.00
                                            request from external
                                            auditor request related to
                                            eMedia review of internal
                                            investigation
08/21/17   T. C. Ryan           1.20 L120   Review follow-up QC               840.00
                                            requests with team to close
                                            out investigation
08/23/17   T. C. Ryan           1.20 L110   Review supplemental               840.00
                                            metadata reports and draft
                                            communication to auditor
08/25/17   A. R. Cashman        0.50 L120   Review documents                  185.00
                                            regarding issues related to
                                            acquisition
08/28/17   S. A. Bronder        0.30 P280   Confer with A. Cashman            111.00
                                            regarding progress of
                                            document review
08/29/17   A. R. Cashman        0.40 L120   Prepare table summarizing         148.00
                                            document collection for
                                            custodians in investigation
08/29/17   T. C. Ryan           0.60 L120   Prepare for and conference        420.00
                                            with audit committee chair
08/29/17   T. C. Ryan           0.90 L120   Conference with client in         630.00
                                            preparation for audit
                                            committee meeting
08/30/17   T. C. Ryan           0.70 L120   Conference with audit             490.00
                                            committee chair and co-
                                            counsel in preparation for
                                            audit committee meeting
08/30/17   T. C. Ryan           0.60 L120   Conference with Toshiba           420.00
                                            counsel regarding status of
                                            report
08/30/17   T. C. Ryan           0.70 L120   Conference with client in         490.00
                                            preparation for audit
                                            committee meeting
08/31/17   T. C. Ryan           0.90 L120   Conference with the               630.00
                                            auditors and address follow
                                            up
                           TOTAL FEES           68.50 hrs               $   34,948.00
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                               TIMEKEEPER SUMMARY

S. A. Bronder                      8.20   hrs at   $    370.00   / hr          3,034.00
A. R. Cashman                     21.70   hrs at   $    370.00   / hr          8,029.00
E. D. Phillips                     3.50   hrs at   $    370.00   / hr          1,295.00
T. C. Ryan                        29.10   hrs at   $    700.00   / hr         20,370.00
N. A. Stockey                      6.00   hrs at   $    370.00   / hr          2,220.00
                         TOTAL FEES                68.50 hrs             $    34,948.00



                                TASK CODE SUMMARY

L110     Fact Investigation/Development            13.80   hrs                 8,835.00
L120     Analysis/Strategy                         43.00   hrs                21,784.00
L650     eDiscovery Review                          3.50   hrs                 1,295.00
P280     Other                                      8.20   hrs                 3,034.00
                           TOTAL FEES              68.50   hrs           $    34,948.00


                        DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                   AMOUNT
Business Meal                                                                    143.33
Copying Expense                                                                   21.60
Pre-screening records reports                                                     87.36
Telephone / Conference Calls / Fx Line Trans                                       8.18
Translation Fees                                                               4,465.00
Westlaw Research                                                               1,559.72
                           DISBURSEMENTS & OTHER CHARGES                 $     6,285.19
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                                  Time Entries Part 2 Pg 7 of 55
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      October 23, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3442567
Cranberry Township, PA 16066                                                         Services Through                      :      September 30, 2017




0236915.00036           Internal Investigation


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $       118,362.00
Disbursements and Other Charges                                                                                                          $             8.65

CURRENT INVOICE DUE                                                                                                                      $       118,370.65




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                     FEES

DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
08/21/17   A. R. Cashman     0.40 L120      Review Toshiba discovery         148.00
                                            requests in bankruptcy
09/05/17   T. C. Ryan        1.40 L120      Address closeout issues           980.00
                                            and questions raised by
                                            client
09/07/17   S. A. Bronder     1.10 L320      Arrange for and supervise         407.00
                                            privilege review
09/07/17   A. R. Cashman     1.40 L120      Coordinate and review             518.00
                                            documents for privilege in
                                            response to request by
                                            PwC related to eMedia
                                            review of internal
                                            investigation
09/07/17   K. M. Gafner      0.60 L320      Review documents for              222.00
                                            privilege pursuant to PwC
                                            request for eMedia review
09/07/17   J. A. Jay         3.80 C100      Review documents for            1,406.00
                                            privilege pursuant to PwC
                                            request for eMedia review
09/07/17   T. C. Ryan        2.10 L120      Conference with client and      1,470.00
                                            follow up on closeout
                                            issues
09/07/17   J. T. Waddell     0.80 L320      Review documents for              296.00
                                            privilege pursuant to PwC
                                            request for eMedia review
09/08/17   A. R. Cashman     2.90 L310      Review documents                1,073.00
                                            requested by PwC eMedia
                                            review
09/08/17   K. M. Gafner      1.30 L320      Review documents for              481.00
                                            privilege pursuant to PwC
                                            request for eMedia review
09/08/17   J. A. Jay         4.40 C100      Review documents for            1,628.00
                                            privilege pursuant to PwC
                                            request for eMedia review
09/08/17   T. C. Ryan        1.10 L120      Conference with client            770.00
                                            regarding closeout items for
                                            investigation and audit
09/08/17   T. C. Ryan        0.70 L120      Conference with Ankura            490.00
                                            regarding closeout items of
                                            investigation, audit
09/08/17   T. C. Ryan        0.90 L120      Review recent filings for         630.00
                                            facts related to internal
                                            investigation
09/11/17   S. A. Bronder     0.20 L320      Manage document review             74.00
09/11/17   A. R. Cashman     3.30 L320      Coordinate and review           1,221.00
                                            documents for privilege
                                            requested by PwC for
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DATE       NAME              HRS TASK      DESCRIPTION                    AMOUNT
                                           eMedia review of
                                           investigation
09/11/17   K. M. Gafner      1.90 L320     Review documents for              703.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/11/17   J. A. Jay         3.90 C100     Review documents for            1,443.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/11/17   T. C. Ryan        0.80 L120     Prepare for and conference        560.00
                                           with auditor, client
                                           regarding closeout
                                           procedures
09/11/17   T. C. Ryan        1.50 L120     Prepare for and debrief with    1,050.00
                                           debtors' counsel regarding
                                           background information
09/11/17   T. C. Ryan        1.00 L120     Organize and review key           700.00
                                           documents for further
                                           debrief with debtors'
                                           counsel
09/12/17   E. S. Baum        3.40 L320     Review documents for            1,258.00
                                           privilege for production to
                                           PwC pursuant to eMedia
                                           request
09/12/17   A. R. Cashman     0.80 L120     Conference with T. Ryan           296.00
                                           regarding privilege issues
                                           and status of investigation
09/12/17   A. R. Cashman     1.20 L320     Coordinate review of              444.00
                                           privilege documents
                                           pursuant to PwC request
                                           for eMedia review of
                                           investigation
09/12/17   S. M. Czypinski   1.50 L320     Review documents for              555.00
                                           privilege production to PwC
                                           pursuant to eMedia request
09/12/17   K. M. Gafner      3.70 L320     Review documents for            1,369.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/12/17   J. A. Jay         5.10 C100     Review documents for            1,887.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/12/17   M. K. Komo        1.90 L650     Review documents for              703.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/12/17   E. D. Phillips    0.20 L650     Review documents for                74.00
                                           privilege for production to
                                           PwC pursuant to eMedia
                                           request
09/12/17   T. C. Ryan        1.50 L120     Prepare for client meeting      1,050.00
                                           in New York City regarding
                                           2004 discovery
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                                                                   Invoice # 3442567
                                                                      0236915.00036
                                                                         Page 4 of 10

DATE       NAME              HRS TASK      DESCRIPTION                   AMOUNT
09/12/17   I. T. R. Smith    0.40 L320     Review documents for            148.00
                                           privilege
09/13/17   E. S. Baum        6.30 L320     Review documents for           2,331.00
                                           privilege for production to
                                           PwC pursuant to eMedia
                                           request
09/13/17   A. R. Cashman     0.50 L120     Conduct privilege review of      185.00
                                           documents responsive to
                                           PwC eMedia request
                                           regarding investigation
09/13/17   S. M. Czypinski   3.00 L320     Review documents for           1,110.00
                                           privilege production to PwC
                                           pursuant to eMedia request
09/13/17   J. A. Jay         4.30 C100     Review documents for           1,591.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/13/17   M. K. Komo        1.70 L650     Review documents for             629.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/13/17   E. D. Phillips    5.20 L650     Review documents for           1,924.00
                                           privilege for production to
                                           PwC pursuant to eMedia
                                           request
09/13/17   T. C. Ryan        3.50 L120     Conference with client         2,450.00
                                           regarding 2004 discovery
                                           issues
09/13/17   I. T. R. Smith    6.40 L320     Review documents for           2,368.00
                                           privilege
09/13/17   J. T. Waddell     1.00 L320     Review documents for             370.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/14/17   E. S. Baum        5.80 L320     Review documents for           2,146.00
                                           privilege for production to
                                           PwC pursuant to eMedia
                                           request
09/14/17   A. R. Cashman     0.70 L320     Review documents for             259.00
                                           privilege responsive to PwC
                                           eMedia request related to
                                           internal investigation
09/14/17   S. M. Czypinski   2.70 L320     Review documents for             999.00
                                           privilege production to PwC
                                           pursuant to eMedia request
09/14/17   K. M. Gafner      3.70 L320     Review documents for           1,369.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/14/17   J. A. Jay         6.30 C100     Review documents for           2,331.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/14/17   M. K. Komo        4.90 L650     Review documents for           1,813.00
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DATE       NAME              HRS TASK      DESCRIPTION                    AMOUNT
                                           privilege pursuant to PwC
                                           request for eMedia review
09/14/17   E. D. Phillips    6.10 L650     Review documents for            2,257.00
                                           privilege for production to
                                           PwC pursuant to eMedia
09/14/17   J. T. Waddell     6.00 L320     Review documents for            2,220.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/15/17   E. S. Baum        4.30 L320     Review documents for            1,591.00
                                           privilege for production to
                                           PwC pursuant to eMedia
                                           request
09/15/17   A. R. Cashman     3.00 L320     Review documents for            1,110.00
                                           privilege pursuant to PwC
                                           eMedia request and
                                           coordinate production
09/15/17   S. M. Czypinski   0.40 L320     Review documents for              148.00
                                           privilege production to PwC
                                           pursuant to eMedia request
09/15/17   K. M. Gafner      4.60 L320     Review documents for            1,702.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/15/17   J. A. Jay         5.60 C100     Review documents for            2,072.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/15/17   M. K. Komo        7.40 L650     Review documents for            2,738.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/15/17   E. D. Phillips    3.00 L650     Review documents for            1,110.00
                                           privilege for production to
                                           PwC pursuant to eMedia
09/15/17   T. C. Ryan        2.40 L120     Address issues related to       1,680.00
                                           discovery obligations in the
                                           UCC litigation
09/15/17   I. T. R. Smith    3.20 L320     Review documents for            1,184.00
                                           privilege
09/15/17   J. T. Waddell     3.90 L320     Review documents for            1,443.00
                                           privilege pursuant to PwC
                                           request for eMedia review
09/18/17   A. R. Cashman     6.80 L320     Review for privilege and        2,516.00
                                           coordinate production of
                                           documents to PwC
                                           pursuant to eMedia request
                                           related to internal
                                           investigation
09/18/17   J. A. Georges     0.30 L320     Conference with A.                  75.00
                                           Cashman regarding
                                           preparation of documents
                                           for production to PWC,
                                           privilege log for same
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DATE       NAME              HRS TASK      DESCRIPTION                   AMOUNT
09/18/17   J. A. Jay         2.40 C100     Redact privileged               888.00
                                           documents reviewed
                                           pursuant to PwC request
                                           for eMedia review
09/18/17   E. D. Phillips    2.10 L650     Review and redact                777.00
                                           privileged documents for
                                           production to PwC pursuant
                                           to eMedia
09/18/17   T. C. Ryan        7.70 L110     Prepare for audit committee    5,390.00
                                           and closeout QC
                                           procedures
09/19/17   A. R. Cashman     4.10 L320     Review for privilege and       1,517.00
                                           produce to PwC documents
                                           pursuant to eMedia request
                                           with accompanying
                                           privilege logs
09/19/17   K. M. Gafner      4.30 L320     Draft and revise privilege     1,591.00
                                           log pursuant to PwC
                                           request for eMedia review
09/19/17   J. A. Georges     0.20 L320     Communications with A.             50.00
                                           Cashman, e-DAT regarding
                                           preparation of production,
                                           privilege log to PWC
09/19/17   T. C. Ryan        4.40 L120     Prepare for audit committee    3,080.00
                                           meeting
09/20/17   A. R. Cashman     1.70 L320     Review documents                 629.00
                                           responsive to PwC eMedia
                                           request for privilege
09/20/17   T. C. Ryan        3.50 L120     Prepare for and conference     2,450.00
                                           with WEC management in
                                           preparation for closeout of
                                           the investigation
09/20/17   T. C. Ryan        4.40 L120     Conference with audit          3,080.00
                                           committee chairman and
                                           prepare memorandum in
                                           preparation for audit
                                           committee meeting
09/21/17   A. R. Cashman     1.60 L120     Coordinate the privilege         592.00
                                           review of documents
                                           responsive to the PwC
                                           eMedia request related to
                                           the internal investigation
09/21/17   V. L. Martinez    0.50 L120     Review and revise                350.00
                                           memorandum to audit
                                           committee chairman
                                           regarding a summary of
                                           revisions to the July 21st
                                           draft investigation report
09/21/17   V. L. Martinez    0.20 L120     Discuss same with T. Ryan        140.00
                                           and Ankura
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12        Exhibit
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                                                                        0236915.00036
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DATE       NAME              HRS TASK      DESCRIPTION                     AMOUNT
09/21/17   V. L. Martinez    0.50 L120     Review employee claim             350.00
09/21/17   V. L. Martinez    0.40 L120     Discuss in multiple               280.00
                                           conversations with T. Ryan
                                           and Ankura regarding
                                           strategies in response to
                                           employee claim
09/21/17   T. C. Ryan        7.30 L120     Conferences with client and      5,110.00
                                           consultant in preparation for
                                           closeout of investigation
                                           and audit committee
                                           meeting
09/21/17   Y. Sako           0.40 B110     Discuss with T. Ryan and           148.00
                                           A. Cashman regarding
                                           additional review and
                                           coordinate with Tokyo
                                           associates
09/22/17   A. R. Cashman     5.40 L320     Review documents for             1,998.00
                                           privilege to produce to PwC
                                           pursuant to eMedia request
09/22/17   T. C. Ryan        3.40 L120     Address issues related to        2,380.00
                                           QC review and prepare for
                                           final auditor meeting
09/22/17   Y. Sako           0.40 B110     Begin privilege review of          148.00
                                           selected Japanese
                                           documents and create
                                           protocol for other reviewers
                                           and coordinate internally
09/22/17   Y. Sako           0.50 L320     Privilege review of                185.00
                                           Japanese-language
                                           documents
09/23/17   A. R. Cashman     0.50 L320     Review documents for               185.00
                                           privilege to produce to PwC
                                           pursuant to eMedia request
09/23/17   E. Yamahara       1.40 L320     Investigation of documents         980.00
                                           from Bluefin database
09/24/17   A. R. Cashman     2.40 L320     Review documents for               888.00
                                           privilege to produce to PwC
                                           pursuant to eMedia request
09/25/17   A. R. Cashman     1.00 L320     Coordinate the collection,         370.00
                                           review, and production of
                                           documents to PwC
09/25/17   J. A. Georges     1.00 C100     Communications with ULG            250.00
                                           regarding Japanese
                                           translation at the request of
                                           T. Ryan
09/25/17   T. C. Ryan        1.20 L110     Conference with auditor            840.00
09/25/17   T. C. Ryan        3.70 L110     Prepare materials for audit      2,590.00
                                           committee meeting
09/26/17   A. R. Cashman     1.90 L120     Coordinate the production          703.00
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12      Exhibit
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DATE       NAME              HRS TASK      DESCRIPTION                   AMOUNT
                                           of documents to PwC and
                                           steps to finalize internal
                                           investigation report
09/26/17   J. A. Georges     0.90 C100     Japanese translation at the      225.00
                                           request of T. Ryan and
                                           communications with T.
                                           Ryan, ULG regarding same
09/26/17   S. Ioki           3.30 L320     Review relevant documents      1,221.00
09/26/17   T. C. Ryan        2.20 L120     Prepare for audit committee    1,540.00
                                           meeting
09/26/17   T. C. Ryan        3.70 L120     Identify relevant documents    2,590.00
                                           and respond to follow-up
                                           request from auditor
09/26/17   N. Wada           1.00 L320     Review e-mail written in         370.00
                                           Japanese
09/27/17   A. R. Cashman     0.60 L320     Coordinate the production        222.00
                                           of documents responsive to
                                           PwC eMedia request
                                           regarding internal
                                           investigation
09/27/17   J. A. Georges     1.60 C400     Communications with ULG,         400.00
                                           IT regarding Japanese
                                           redline, comparison of
                                           same translations at the
                                           request of T. Ryan
09/27/17   T. C. Ryan        3.60 L120     Prepare for and participate    2,520.00
                                           in audit committee meeting
09/27/17   T. C. Ryan        1.20 L120     Review Toshiba Audit             840.00
                                           Committee opinion
09/28/17   J. A. Georges     0.60 L320     Communications with A.           150.00
                                           Cashman, Clicks regarding
                                           preparation of QC Privilege
                                           Log documents for client
                                           review; prepare same
09/29/17   A. R. Cashman     0.50 L120     Conference with T. Ryan          185.00
                                           and J. Georges regarding
                                           status of investigation
09/29/17   A. R. Cashman     0.40 L120     Conference with T. Ryan,         148.00
                                           V. Martinez, and S.
                                           Lambrakopoulos regarding
                                           status of subpoena
                                           response
09/29/17   A. R. Cashman     2.60 L320     Review documents and             962.00
                                           respond to PwC request
                                           regarding eMedia review
                                           related to documents
                                           collected during internal
                                           investigation
09/29/17   J. A. Georges     0.90 C100     Communications with T.           225.00
                                           Ryan, A. Cashman, ULG
 17-10751-mew      Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12              Exhibit
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DATE        NAME                 HRS TASK         DESCRIPTION                      AMOUNT
                                                  regarding translation of
                                                  Final Investigative Report
                                                  dated 8/7/2017, redline
                                                  comparison of Japanese
                                                  original reports for same
09/29/17    J. A. Georges        3.60 L320        Communications with e-             900.00
                                                  DAT, Clicks, T. Ryan, A.
                                                  Cashman regarding PWC
                                                  privilege document review
                                                  and preparation of privilege
                                                  documents for
                                                  Westinghouse GC review
09/30/17    J. A. Georges        0.60 L320        Communications with e-             150.00
                                                  DAT, Clicks regarding
                                                  privilege document review;
                                                  preparation of privilege
                                                  documents for
                                                  Westinghouse GC, T.
                                                  Ryan, A. Cashman review
                            TOTAL FEES              264.00 hrs                $   118,362.00


                                 TIMEKEEPER SUMMARY

E. S. Baum                           19.80   hrs at    $    370.00   / hr           7,326.00
S. A. Bronder                         1.30   hrs at    $    370.00   / hr             481.00
A. R. Cashman                        43.70   hrs at    $    370.00   / hr          16,169.00
S. M. Czypinski                       7.60   hrs at    $    370.00   / hr           2,812.00
K. M. Gafner                         20.10   hrs at    $    370.00   / hr           7,437.00
J. A. Georges                         9.70   hrs at    $    250.00   / hr           2,425.00
S. Ioki                               3.30   hrs at    $    370.00   / hr           1,221.00
J. A. Jay                            35.80   hrs at    $    370.00   / hr          13,246.00
M. K. Komo                           15.90   hrs at    $    370.00   / hr           5,883.00
V. L. Martinez                        1.60   hrs at    $    700.00   / hr           1,120.00
E. D. Phillips                       16.60   hrs at    $    370.00   / hr           6,142.00
T. C. Ryan                           63.20   hrs at    $    700.00   / hr          44,240.00
Y. Sako                               1.30   hrs at    $    370.00   / hr             481.00
I. T. R. Smith                       10.00   hrs at    $    370.00   / hr           3,700.00
N. Wada                               1.00   hrs at    $    370.00   / hr             370.00
J. T. Waddell                        11.70   hrs at    $    370.00   / hr           4,329.00
E. Yamahara                           1.40   hrs at    $    700.00   / hr             980.00
                            TOTAL FEES                264.00 hrs             $    118,362.00
 17-10751-mew             Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12                                                                          Exhibit
                                 Time Entries Part 2 Pg 16 of 55
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      November 13, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3450608
Cranberry Township, PA 16066                                                         Services Through                      :      October 31, 2017




0236915.00036           Internal Investigation


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $         67,945.00
Disbursements and Other Charges                                                                                                          $          6,484.93

CURRENT INVOICE DUE                                                                                                                      $         74,429.93




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12         Exhibit
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                                     FEES

DATE       NAME              HRS TASK       DESCRIPTION                     AMOUNT
10/01/17   J. A. Georges     1.10 L320      Communications with               275.00
                                            Clicks, T. Ryan, A.
                                            Cashman, Courrier
                                            regarding privilege log
                                            document preparation
10/02/17   J. A. Georges     0.60 P200      Communications with ULG            150.00
                                            regarding Japanese
                                            translation
10/02/17   T. C. Ryan        2.20 L120      Conference with auditor          1,540.00
                                            and follow up on privilege
                                            log issues
10/02/17   T. C. Ryan        2.80 L120      Conference with client on        1,960.00
                                            privilege log review
10/03/17   A. R. Cashman     0.90 L120      Coordinate with T. Ryan            333.00
                                            regarding status of
                                            investigation report
10/03/17   J. A. Georges     0.20 L620      Communications with e-               50.00
                                            DAT regarding preparation
                                            of hard drive for harvesting
                                            of custodian ESI
10/03/17   J. A. Georges     0.40 L620      Respond to T. Ryan                 100.00
                                            requests regarding final
                                            MOIs
10/03/17   J. A. Georges     0.20 L620      Ream conference regarding            50.00
                                            status of outstanding
                                            requests
10/03/17   T. C. Ryan        1.10 L120      Prepare for and conference         770.00
                                            with client
10/03/17   T. C. Ryan        1.10 L120      Coordinate with co-counsel         770.00
                                            on response to foreign
                                            regulators
10/03/17   T. C. Ryan        1.20 L120      Conference with client             840.00
                                            regarding internal control
                                            issue and review draft
                                            language
10/04/17   A. L. Burdette    1.50 C300      Analyze and proofread First        555.00
                                            Amended Investigative
                                            Report
10/04/17   A. R. Cashman     4.10 L120      Finalize investigation report    1,517.00
                                            and prepare for review of
                                            privileged documents with
                                            client
10/04/17   K. M. Gafner      2.40 L250      Review/Revise First                888.00
                                            Amended Investigative
                                            Report
10/04/17   J. A. Kephart     1.60 C400      Revise and review First            592.00
                                            Amended Investigation
                                            report
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DATE       NAME              HRS TASK      DESCRIPTION                     AMOUNT
10/04/17   A. K. Ream        2.10 C300     Review/proofread draft first      777.00
                                           amended investigative
                                           report and email messages
                                           with A. Cashman regarding
                                           the same
10/04/17   T. C. Ryan        3.10 L120     Review and revise report in      2,170.00
                                           preparation for closeout
10/04/17   J. T. Waddell     1.40 L250     Review and revise Bluefin          518.00
                                           First Amended Investigative
                                           Report
10/05/17   A. L. Burdette    2.40 C300     Analyze and proofread First        888.00
                                           Amended Investigative
                                           Report
10/05/17   A. R. Cashman     6.20 L120     Finalize internal                2,294.00
                                           investigation, including
                                           review of privileged
                                           documents with client and
                                           production of final privilege
                                           logs
10/05/17   A. R. Cashman     3.30 L320     Coordinate the collection,       1,221.00
                                           production, and review of
                                           documents responsive to
                                           the UCC document
                                           requests
10/05/17   K. M. Gafner      4.20 L250     Review/Revise First              1,554.00
                                           Amended Investigative
                                           Report
10/05/17   J. A. Kephart     0.90 C400     Revise and edit                    333.00
                                           investigation report for A.
                                           Cashman
10/05/17   A. K. Ream        1.30 C300     Review/proofread first             481.00
                                           amended investigative
                                           report
10/05/17   T. C. Ryan        5.90 L120     Conduct privilege log            4,130.00
                                           review with client as a
                                           closeout to the investigation
10/05/17   J. T. Waddell     2.40 L390     Review and revise Bluefin          888.00
                                           First Amended Investigative
                                           Report
10/06/17   A. R. Cashman     7.40 L120     Finalize investigation report    2,738.00
                                           and transmit to auditor
10/06/17   K. M. Gafner      1.10 L250     Review/Revise First                407.00
                                           Amended Investigative
                                           Report
10/06/17   J. A. Kephart     0.90 C400     Revise and edit                    333.00
                                           investigation report
10/06/17   M. A. Rush        0.70 L120     Conference call with auditor       490.00
                                           regarding close out on final
                                           report
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DATE       NAME             HRS TASK      DESCRIPTION                     AMOUNT
10/06/17   M. A. Rush       0.30 L120     Follow-up call with T. Ryan        210.00
10/06/17   T. C. Ryan       6.70 L120     Conduct closeout                 4,690.00
                                          procedures to finalize report
                                          and circulate same
10/07/17   A. R. Cashman    0.20 L120     Correspond with T. Ryan              74.00
                                          regarding documents
                                          responsive to potential
                                          employee claim
10/09/17   M. A. Rush       4.50 L120     Work on presentation to          3,150.00
                                          UCC
10/09/17   M. A. Rush       0.80 L120     Conference with T. Ryan            560.00
10/09/17   T. C. Ryan       1.80 L120     Finalize materials for the       1,260.00
                                          audit committee meeting
10/10/17   M. A. Rush       6.50 L120     Work on presentation for         4,550.00
                                          UCC
10/11/17   A. R. Cashman    0.40 L120     Review and confirm final           148.00
                                          investigation report
10/11/17   M. A. Rush       3.80 L120     Continue drafting                2,660.00
                                          powerpoint presentation for
                                          UCC
10/11/17   T. C. Ryan       1.00 L120     Prepare for audit committee        700.00
                                          meeting
10/12/17   A. R. Cashman    0.50 L120     Attend WEC Audit                   185.00
                                          Committee regarding final
                                          investigation report
10/12/17   A. R. Cashman    1.80 L120     Conference with T. Ryan            666.00
                                          and S. Richards regarding
                                          final investigation and
                                          disclosure
10/12/17   J. A. Georges    1.20 C100     Respond to T. Ryan, A.             300.00
                                          Cashman requests
                                          regarding preparation of
                                          legal research memos,
                                          MOIs, relevant documents
                                          in response to SESC
10/12/17   M. A. Rush       5.90 L120     Continue drafting                4,130.00
                                          powerpoint presentation for
                                          UCC and conference with
                                          T. Ryan
10/12/17   T. C. Ryan       4.70 L120     Prepare for and participate      3,290.00
                                          in audit committee meeting
10/13/17   M. A. Rush       2.90 L120     Revisions to UCC                 2,030.00
                                          powerpoint
10/16/17   M. A. Rush       3.30 L120     Revisions to UCC                 2,310.00
                                          powerpoint
10/16/17   T. C. Ryan       2.20 L120     Prepare for meeting under        1,540.00
                                          common interest
                                          agreement
10/17/17   M. A. Rush       2.50 L120     Complete first draft of WEC      1,750.00
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DATE        NAME              HRS TASK         DESCRIPTION                     AMOUNT
                                               presentation to UCC
10/17/17    M. A. Rush        0.40 L120        Conference with T. Ryan            280.00
10/17/17    T. C. Ryan        2.20 L120        Conference with debtor's         1,540.00
                                               counsel and follow up on
                                               document requests
10/26/17    M. A. Rush        0.90 L120        Revisions to due diligence         630.00
                                               talking points memo for the
                                               CEO and GC and emails
                                               regarding same
10/30/17    T. C. Ryan        2.40 L120        Prepare for meeting with         1,680.00
                                               UCC
                         TOTAL FEES              121.60 hrs               $    67,945.00


                              TIMEKEEPER SUMMARY

A. L. Burdette                     3.90   hrs at    $    370.00   / hr          1,443.00
A. R. Cashman                     24.80   hrs at    $    370.00   / hr          9,176.00
K. M. Gafner                       7.70   hrs at    $    370.00   / hr          2,849.00
J. A. Georges                      3.70   hrs at    $    250.00   / hr            925.00
J. A. Kephart                      3.40   hrs at    $    370.00   / hr          1,258.00
A. K. Ream                         3.40   hrs at    $    370.00   / hr          1,258.00
M. A. Rush                        32.50   hrs at    $    700.00   / hr         22,750.00
T. C. Ryan                        38.40   hrs at    $    700.00   / hr         26,880.00
J. T. Waddell                      3.80   hrs at    $    370.00   / hr          1,406.00
                         TOTAL FEES                121.60 hrs             $    67,945.00
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                                                               Invoice # 3450608
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                               TASK CODE SUMMARY

C100    Fact Gathering                            1.20   hrs            300.00
C300    Analysis and Advice                       7.30   hrs          2,701.00
C400    Third Party Communication                 3.40   hrs          1,258.00
L120    Analysis/Strategy                        92.40   hrs         57,585.00
L250    Other Written Motions and Submissions     9.10   hrs          3,367.00
L320    Document Production                       4.40   hrs          1,496.00
L390    Other Discovery                           2.40   hrs            888.00
L620    eDiscovery Collection                     0.80   hrs            200.00
P200    Fact Gathering/Due Diligence              0.60   hrs            150.00
                         TOTAL FEES             121.60   hrs    $    67,945.00


                       DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                          AMOUNT
Air Fare                                                              1,175.99
Color Copying/Printing                                                    2.00
Copying Expense (Outside Off.)                                        2,501.52
Misc. Expenses                                                            5.66
Telephone / Conference Calls / Fx Line Trans                              6.92
Translation Fees                                                      2,446.48
Travel Expenses                                                         330.96
Travel Related Meals                                                     15.40
                         DISBURSEMENTS & OTHER CHARGES          $     6,484.93
 17-10751-mew             Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12                                                                          Exhibit
                                 Time Entries Part 2 Pg 22 of 55
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      December 14, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3464384
Cranberry Township, PA 16066                                                         Services Through                      :      November 30, 2017




0236915.00036           Internal Investigation


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $         23,298.00
Disbursements and Other Charges                                                                                                          $          3,535.92

CURRENT INVOICE DUE                                                                                                                      $         26,833.92




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
 17-10751-mew    Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12           Exhibit
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                                                                              Page 2 of 3

                                        FEES

DATE       NAME                HRS TASK        DESCRIPTION                    AMOUNT
11/01/17   T. C. Ryan          2.70 L120       Prepare for meeting with        1,890.00
                                               UCC under common
                                               interest agreement
11/02/17   T. C. Ryan           6.30 L120      Prepare for UCC meeting         4,410.00
11/05/17   T. C. Ryan           4.20 L120      Prepare for meeting with        2,940.00
                                               UCC counsel
11/06/17   J. A. Georges        0.30 P280      Review ULG invoices,               75.00
                                               communications with
                                               accounts payable regarding
                                               same
11/06/17   T. C. Ryan           3.00 L120      Attend prep session for         2,100.00
                                               UCC meeting
11/06/17   T. C. Ryan           3.00 L120      Conduct UCC presentation        2,100.00
11/07/17   T. C. Ryan           1.80 L120      Address follow-up items         1,260.00
                                               from UCC meeting
11/08/17   T. C. Ryan           0.90 L120      Status update with client        630.00
                                               following UCC meeting
11/09/17   T. C. Ryan           1.40 L120      Draft memorandum in              980.00
                                               follow-up to UCC meeting
11/10/17   T. C. Ryan           1.20 L120      Draft memorandum                 840.00
                                               addressing follow-up
                                               questions from UCC
11/12/17   T. C. Ryan           0.50 L120      Revise and finalize UCC          350.00
                                               memo
11/17/17   T. C. Ryan           1.40 L120      Conference with client on        980.00
                                               follow-up requests from
                                               bankruptcy process
11/28/17   A. R. Cashman        0.90 L120      Review record related to         333.00
                                               internal investigation
11/29/17   T. C. Ryan           2.20 L120      Review investigation            1,540.00
                                               documents and interview
                                               memoranda in relation to
                                               claim strategy
11/30/17   T. C. Ryan           3.30 L120      Draft memorandum at             2,310.00
                                               request of debtor's counsel
                                               regarding claim strategies
11/30/17   T. C. Ryan           0.80 L120      Conference with client,          560.00
                                               debtor's counsel
                           TOTAL FEES              33.90 hrs              $   23,298.00
 17-10751-mew      Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12         Exhibit
                          Time Entries Part 2 Pg 24 of 55
                                                                       Invoice # 3464384
                                                                          0236915.00036
                                                                              Page 3 of 3


                                 TIMEKEEPER SUMMARY

A. R. Cashman                         0.90 hrs at   $    370.00 / hr            333.00
J. A. Georges                         0.30 hrs at   $    250.00 / hr             75.00
T. C. Ryan                           32.70 hrs at   $    700.00 / hr         22,890.00
                            TOTAL FEES              33.90 hrs           $    23,298.00



                                  TASK CODE SUMMARY

L120     Analysis/Strategy                          33.60 hrs                23,223.00
P280     Other                                       0.30 hrs                    75.00
                          TOTAL FEES                33.90 hrs           $    23,298.00


                            DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                  AMOUNT
Travel Expenses: Air Fare                                                     1,881.50
Travel Expenses: Hotel                                                        1,534.14
Travel Expenses: Parking                                                         48.00
Travel Related Meals                                                             72.28
                            DISBURSEMENTS & OTHER CHARGES               $     3,535.92
 17-10751-mew             Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12                                                                          Exhibit
                                 Time Entries Part 2 Pg 25 of 55
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      September 28, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3426895
Cranberry Township, PA 16066                                                         Services Through                      :      August 31, 2017




0236915.00043           Non-adverse corporate matters


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $         69,397.00
Disbursements and Other Charges                                                                                                          $          6,190.48

CURRENT INVOICE DUE                                                                                                                      $         75,587.48




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12          Exhibit
                         Time Entries Part 2 Pg 26 of 55
                                                                       Invoice # 3426895
                                                                          0236915.00043
                                                                              Page 2 of 9

                                       FEES

DATE       NAME                HOURS     DESCRIPTION                         AMOUNT
08/01/17   R.M. Fallon          0.20     Meet with A. Paine and D.             50.00
                                         Mawhinney regarding
                                         preparation of interim fee
                                         application
08/01/17   D. A. Mawhinney      0.30     Draft email to E. Phillips             111.00
                                         regarding audit inquiry letter
08/01/17   A. R. D. Paine       1.40     Begin preparing first interim fee      518.00
                                         application and discuss same
                                         with D. Mawhinney
08/01/17   E. D. Phillips       1.10     Draft audit response letter            407.00
08/02/17   E. D. Phillips       0.30     Prepare audit response letter          111.00
08/02/17   T. C. Ryan           0.70     Revise audit response                  490.00
08/03/17   R.M. Fallon          2.00     Drafting of attorney profiles for      500.00
                                         interim fee application
08/03/17   A. R. D. Paine       1.10     Continue preparing first interim       407.00
                                         fee application
08/03/17   E. D. Phillips       0.60     Draft audit response letter            222.00
08/04/17   M. Beltrami          3.00     Research case law on                 1,110.00
                                         consequences of insolvency
                                         procedure
08/04/17   M. Beltrami          1.70     Draft client memo                      629.00
08/04/17   M. Beltrami          0.70     Confer and review with lawyer          259.00
                                         team client memo
08/04/17   A. Campana           1.00     Finish studying and reviewing          370.00
                                         last queries of debtors' counsel
                                         and start preparing the reply by
                                         way of structured email
08/04/17   A. Campana           1.00     Review reply of debtors' counsel       370.00
                                         and start studying possible
                                         answers
08/04/17   R.M. Fallon          2.10     Work on attorney biographies           525.00
                                         and charts for interim fee
                                         application
08/04/17   J. A. Georges        0.90     Prepare audit response letter          225.00
                                         March 31, 2017 to July 31,
                                         2017; communications with E.
                                         Phillips regarding same
08/04/17   R. W. Hosking        0.60     Emails/conference with J.              420.00
                                         Pricener regarding employee-
                                         related issues/matters
08/04/17   R. W. Hosking        0.50     Internal conferences regarding         350.00
                                         employee-related issues
08/04/17   A. R. D. Paine       1.80     Review docket for new and              666.00
                                         significant developments in
                                         bankruptcy case and prepare
                                         and circulate summary of
                                         developments to interested
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12         Exhibit
                         Time Entries Part 2 Pg 27 of 55
                                                                      Invoice # 3426895
                                                                         0236915.00043
                                                                             Page 3 of 9

DATE       NAME                HOURS    DESCRIPTION                          AMOUNT
                                        attorneys
08/04/17   E. D. Phillips       2.50    Prepare audit letter response          925.00
                                        materials
08/05/17   A. Campana           3.80    Finish studying and reviewing        1,406.00
                                        last queries of debtors' counsel
                                        and reply with a structured email
08/07/17   A. Campana           4.20    Review and study email of            1,554.00
                                        debtors' counsel regarding
                                        additional queries related to
                                        financing matter
08/07/17   R.M. Fallon          0.40    Follow up e-mails regarding            100.00
                                        attorney bios needed for interim
                                        fee application
08/07/17   R.M. Fallon          0.40    Update timekeeper chart for            100.00
                                        interim fee application
08/07/17   J. A. Georges        0.90    Prepare audit response due             225.00
                                        diligence supporting documents
                                        for archive; communications
                                        with E. Phillips, D. Proctor
                                        regarding same
08/07/17   R. W. Hosking        1.00    Internal conferences regarding         700.00
                                        email from J. Pricener and
                                        appropriate communication to
                                        employees
08/07/17   P. Marini            1.00    Conference call with A.                700.00
                                        Campana regarding Mangiarotti
08/07/17   P. Marini            1.00    Conference call with Weil and          700.00
                                        Alix regarding Mangiarotti
08/07/17   A. R. D. Paine       1.80    Analyze motion to determine            666.00
                                        scope of creditor committee
                                        discovery
08/08/17   A. Campana           0.80    Review comments of debtors'            296.00
                                        counsel
08/08/17   R.M. Fallon          0.30    Exchange of e-mails with                 75.00
                                        attorneys regarding bios for
                                        interim fee application
08/08/17   R.M. Fallon          1.70    Work on preparation of                 425.00
                                        timekeeper biographies for
                                        exhibit to interim fee application
08/08/17   T. C. Ryan           1.20    Review research regarding              840.00
                                        choice of law provisions in non-
                                        disclosure agreements
08/09/17   A. Campana           1.50    Prepare and take part in the call      555.00
                                        with debtors' counsel regarding
                                        financing matter
08/11/17   A. R. D. Paine       1.60    Review docket for new and              592.00
                                        significant developments in
                                        bankruptcy case this past week
                                        and prepare and circulate
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12         Exhibit
                         Time Entries Part 2 Pg 28 of 55
                                                                      Invoice # 3426895
                                                                         0236915.00043
                                                                             Page 4 of 9

DATE       NAME                HOURS    DESCRIPTION                          AMOUNT
                                        summary of same to interested
                                        attorneys
08/14/17   R.M. Fallon          0.10    Follow up on July professional           25.00
                                        fees
08/15/17   R.M. Fallon          0.50    Work on timekeeper biographies         125.00
                                        for interim fee application
08/15/17   A. R. D. Paine       1.90    Continue preparing draft of First      703.00
                                        Interim Fee Application
08/16/17   R.M. Fallon          2.80    Update professional fee                700.00
                                        statement
08/16/17   R. W. Hosking        0.60    Internal conferences regarding         420.00
                                        appropriate person to prepare
                                        communication
08/16/17   R. W. Hosking        0.40    Review email to regulators and         280.00
                                        news articles
08/16/17   D. A. Mawhinney      0.30    Review First Interim Fee               111.00
                                        Application
08/16/17   A. R. D. Paine       2.00    Complete first draft of First          740.00
                                        Interim Fee Application
08/16/17   A. R. D. Paine       0.70    Review bar date order and              259.00
                                        analysis regarding potential
                                        claims issues
08/17/17   R.M. Fallon          0.20    Discuss with D. Mawhinney                50.00
                                        status of monthly and interim
                                        fee statements
08/17/17   R.M. Fallon          0.10    Discussion with D. Mawhinney             25.00
                                        regarding exhibits to interim fee
                                        application
08/17/17   R.M. Fallon          5.20    Updating of fee spreadsheet          1,300.00
                                        and creation of related interim
                                        fee application exhibits
08/17/17   D. A. Mawhinney      1.80    Review and revise First Interim        666.00
                                        Fee Application
08/17/17   D. A. Mawhinney      0.60    Discuss revisions to First Interim     222.00
                                        Fee Application with A. Paine
08/17/17   A. R. D. Paine       3.70    Revise draft of First Interim Fee    1,369.00
                                        Application to ensure
                                        compliance with Local and U.S.
                                        Trustee Guidelines for fee
                                        applications, and meet with D.
                                        Mawhinney to discuss same
08/18/17   R.M. Fallon          5.00    Preparation of monthly and           1,250.00
                                        interim fee application
08/18/17   D. A. Mawhinney      0.60    Draft email to T. Ryan regarding       222.00
                                        2004 Request from Committee
08/18/17   A. R. D. Paine       8.40    Revise draft of First Interim Fee    3,108.00
                                        Application to ensure
                                        compliance with Local and U.S.
                                        Trustee Guidelines for fee
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12          Exhibit
                         Time Entries Part 2 Pg 29 of 55
                                                                       Invoice # 3426895
                                                                          0236915.00043
                                                                              Page 5 of 9

DATE       NAME                HOURS    DESCRIPTION                          AMOUNT
                                        applications, and prepare
                                        summary cover sheet,
                                        certification, and proposed order
                                        for Fee Application
08/19/17   D. A. Mawhinney      3.50    Review and revise first interim       1,295.00
                                        fee application
08/20/17   A. R. D. Paine       4.10    Revise draft of First Interim Fee     1,517.00
                                        Application, including
                                        incorporating D. Mawhinney's
                                        edits
08/21/17   D. A. Mawhinney      2.90    Further revisions to first interim    1,073.00
                                        fee application
08/21/17   D. A. Mawhinney      0.50    Discuss narratives to first             185.00
                                        interim fee application with T.
                                        Ryan
08/21/17   D. A. Mawhinney      1.00    Further revisions to first interim      370.00
                                        fee application
08/21/17   A. R. D. Paine       5.80    Continue revising draft of First      2,146.00
                                        Interim Fee Application to
                                        ensure compliance with Local
                                        and U.S. Trustee Guidelines for
                                        fee applications, and revise
                                        summary cover sheet,
                                        certification, and proposed order
                                        for same
08/21/17   A. R. D. Paine       1.10    Review docket for new and               407.00
                                        significant developments in
                                        bankruptcy case this past week
                                        and prepare and circulate
                                        summary of same to interested
                                        attorneys
08/22/17   R.M. Fallon          1.30    Update professional fee and             325.00
                                        expense spreadsheet
08/22/17   R.M. Fallon          2.00    Work on preparing interim fee           500.00
                                        application exhibits re large
                                        chapter 11 case
08/22/17   D. A. Mawhinney      2.00    Revise first interim fee                740.00
                                        application and certification of
                                        counsel
08/22/17   D. A. Mawhinney      0.50    Discuss exhibits for first interim      185.00
                                        fee application with A. Paine, B.
                                        Fallon
08/22/17   A. R. D. Paine       1.60    Continue revising draft of First        592.00
                                        Interim Fee Application and
                                        accompanying exhibits and
                                        meet with D. Mawhinney to
                                        discuss same
08/22/17   T. C. Ryan           2.70    Review special counsel and            1,890.00
                                        prepare narratives for
                                        supplemental application
 17-10751-mew    Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12         Exhibit
                        Time Entries Part 2 Pg 30 of 55
                                                                     Invoice # 3426895
                                                                        0236915.00043
                                                                            Page 6 of 9

DATE       NAME               HOURS    DESCRIPTION                         AMOUNT
08/22/17   T. C. Ryan          1.30    Review and assemble plan to           910.00
                                       provide e-discovery support for
                                       UCC litigation
08/23/17   R.M. Fallon         0.40    Conference call with M. Meyer          100.00
                                       regarding preparation of
                                       customary comparison chart for
                                       interim fee application
08/23/17   R.M. Fallon         0.40    Meet with A. Paine regarding           100.00
                                       preparation of interim fee
                                       application exhibits
08/23/17   R.M. Fallon         0.20    Follow up call with M. Meyer             50.00
                                       regarding comparison chart for
                                       interim fee application
08/23/17   R.M. Fallon         6.00    Updating of Excel workbook and       1,500.00
                                       preparation of data for interim
                                       fee application and exhibits
08/23/17   D. A. Mawhinney     0.70    Revise, file, and serve Monthly        259.00
                                       Fee Statement of KLG for July
                                       2017
08/23/17   A. R. D. Paine      6.70    Continue revising exhibits           2,479.00
                                       required for First Interim Fee
                                       Application
08/23/17   T. C. Ryan          1.80    Prepare for and conference with      1,260.00
                                       co-counsel regarding e-
                                       discovery plan
08/24/17   R.M. Fallon         4.00    Work on interim fee application      1,000.00
08/24/17   R.M. Fallon         0.20    Confer with A. Paine re interim         50.00
                                       fee application
08/24/17   D. A. Mawhinney     2.10    Review exhibits to first interim       777.00
                                       fee application
08/24/17   A. R. D. Paine      2.60    Continue revising exhibits             962.00
                                       required for First Interim Fee
                                       Application and discuss same
                                       with D. Mawhinney
08/24/17   T. C. Ryan          1.50    Analyze Q4 staffing and budget       1,050.00
                                       plan for ongoing and new
                                       matters
08/24/17   T. C. Ryan          2.40    Review background materials          1,680.00
                                       for supplemental narrative in
                                       support of fee application
08/25/17   R.M. Fallon         0.30    Prepare timekeeper chart for D.          75.00
                                       Mawhinney narrative
08/25/17   D. A. Mawhinney     0.90    Draft fee narrative for non-           333.00
                                       adverse corporate advice in
                                       connection with first interim fee
                                       application
08/25/17   A. R. D. Paine      0.90    Continue revising First Interim        333.00
                                       Fee Application and content of
                                       required exhibits
 17-10751-mew    Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12          Exhibit
                        Time Entries Part 2 Pg 31 of 55
                                                                      Invoice # 3426895
                                                                         0236915.00043
                                                                             Page 7 of 9

DATE       NAME               HOURS    DESCRIPTION                          AMOUNT
08/25/17   A. R. D. Paine      1.30    Review and summarize new               481.00
                                       docket entries representing
                                       significant developments in
                                       bankruptcy case over the past
                                       week and circulate summary to
                                       interested attorneys
08/27/17   D. A. Mawhinney     0.40    Review of First Interim Fee             148.00
                                       Application
08/27/17   A. R. D. Paine      3.30    Continue revising First Interim       1,221.00
                                       Fee Application and content of
                                       required exhibits and discuss
                                       same with D. Mawhinney
08/28/17   R.M. Fallon         1.00    Update professional fee                 250.00
                                       statement re payments and
                                       holdback for interim fee
                                       application
08/28/17   R.M. Fallon         0.40    Work with D. Mawhinney on               100.00
                                       interim fee application
08/28/17   R.M. Fallon         0.20    Update professional fee                   50.00
                                       statement re additional
                                       payments received
08/28/17   R. W. Hosking       1.00    Review and revise employee-             700.00
                                       related communication
08/28/17   D. A. Mawhinney     2.20    Revise first interim fee                814.00
                                       application narratives
08/28/17   D. A. Mawhinney     0.80    Revise summary of payments              296.00
                                       on first interim fee application
08/28/17   A. R. D. Paine      2.50    Continue revising First Interim         925.00
                                       Fee Application and content of
                                       required exhibits
08/28/17   T. C. Ryan          4.40    Review matter history and             3,080.00
                                       prepare narratives for
                                       supplemental fee application
08/29/17   R.M. Fallon         2.00    Work on interim fee application         500.00
                                       exhibits
08/29/17   D. A. Mawhinney     1.10    Review First Interim Fee                407.00
                                       Application
08/29/17   D. A. Mawhinney     0.60    Review revised fee narratives           222.00
08/29/17   A. R. D. Paine      1.30    Review and revise calculations          481.00
                                       of attorney blended rates for
                                       First Interim Fee Application
08/29/17   A. R. D. Paine      0.90    Begin finalizing required exhibits      333.00
                                       for fee application
08/29/17   T. C. Ryan          1.10    Revise supplemental fee                 770.00
                                       narrative
08/29/17   T. C. Ryan          1.00    Research and resolve                    700.00
                                       representation issues related to
                                       serving as conflict counsel in
                                       certain bankruptcy matters
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12              Exhibit
                         Time Entries Part 2 Pg 32 of 55
                                                                           Invoice # 3426895
                                                                              0236915.00043
                                                                                  Page 8 of 9

DATE       NAME                     HOURS   DESCRIPTION                           AMOUNT
08/30/17   R.M. Fallon               1.70   Work on narratives chart for            425.00
                                            interim fee application and other
                                            exhibits
08/30/17   R.M. Fallon               0.50   Revisions to interim fee                125.00
                                            application exhibits
08/30/17   D. A. Mawhinney           0.70   Review revised fee narratives           259.00
08/30/17   D. A. Mawhinney           0.20   Draft email to R. Hosking                74.00
                                            regarding opening of new
                                            matters
08/30/17   D. A. Mawhinney           0.20   Draft email to United States              74.00
                                            Trustee, Debtors, and
                                            Committee regarding first
                                            interim fee app
08/30/17   D. A. Mawhinney           0.90   Confer with C. Dale and J.              333.00
                                            Wright regarding UST
                                            comments to first interim fee
                                            application
08/30/17   D. A. Mawhinney           0.50   Draft language in fee application       185.00
                                            Appendix B guideline exhibit
08/30/17   A. R. D. Paine            1.90   Finalize exhibits for interim fee       703.00
                                            application
08/30/17   T. C. Ryan                1.00   Prepare draft waivers to serve          700.00
                                            as co-counsel
08/30/17   J. A. Wright III          0.30   Conf. with D. Mawhinney re fee          210.00
                                            application
08/31/17   D. A. Mawhinney           0.40   Draft emails to UST regarding           148.00
                                            blend fee rates disclosed in fee
                                            application
08/31/17   D. A. Mawhinney           0.70   Draft email to chambers                 259.00
                                            regarding stipulation enlarging
                                            relief from stay response
                                            deadline
08/31/17   D. A. Mawhinney           0.30   Revise Exhibit I to first interim       111.00
                                            fee application
08/31/17   A. R. D. Paine            0.80   Monitor claims register and             296.00
                                            circulate updates regarding
                                            important employee proofs of
                                            claims
08/31/17   T. C. Ryan                0.60   Address conflict issues                 420.00
                                            regarding potential
                                            representation
08/31/17   J. A. Wright III          0.10   Emails regarding fee application          70.00
                                            with UST
08/31/17   J. A. Wright III          0.20   Review KLG retention papers             140.00
08/31/17   J. A. Wright III          0.10   Conferences with D. Mawhinney            70.00
                                            regarding same
                              TOTAL FEES             178.00 hrs               $   69,397.00
 17-10751-mew      Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12          Exhibit
                          Time Entries Part 2 Pg 33 of 55
                                                                        Invoice # 3426895
                                                                           0236915.00043
                                                                               Page 9 of 9


                              TIMEKEEPER SUMMARY

M. Beltrami                       5.40   hrs at    $    370.00   / hr          1,998.00
A. Campana                       12.30   hrs at    $    370.00   / hr          4,551.00
R.M. Fallon                      41.60   hrs at    $    250.00   / hr         10,400.00
J. A. Georges                     1.80   hrs at    $    250.00   / hr            450.00
R. W. Hosking                     4.10   hrs at    $    700.00   / hr          2,870.00
P. Marini                         2.00   hrs at    $    700.00   / hr          1,400.00
D. A. Mawhinney                  26.70   hrs at    $    370.00   / hr          9,879.00
A. R. D. Paine                   59.20   hrs at    $    370.00   / hr         21,904.00
E. D. Phillips                    4.50   hrs at    $    370.00   / hr          1,665.00
T. C. Ryan                       19.70   hrs at    $    700.00   / hr         13,790.00
J. A. Wright III                  0.70   hrs at    $    700.00   / hr            490.00
                        TOTAL FEES                178.00 hrs             $    69,397.00



                        DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                   AMOUNT
Long Distance Courier                                                            156.63
Westlaw Research                                                               6,033.85
                        DISBURSEMENTS & OTHER CHARGES                    $     6,190.48
 17-10751-mew             Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12                                                                          Exhibit
                                 Time Entries Part 2 Pg 34 of 55
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      October 23, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3442568
Cranberry Township, PA 16066                                                         Services Through                      :      September 30, 2017




0236915.00043           Non-adverse corporate matters


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $         76,448.00
Disbursements and Other Charges                                                                                                          $            186.85

CURRENT INVOICE DUE                                                                                                                      $         76,634.85




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                       FEES

DATE       NAME                HOURS     DESCRIPTION                          AMOUNT
09/01/17   R. W. Hosking        1.20     Review of open matters                 840.00
09/01/17   R. W. Hosking        1.10     Emails and conferences                 770.00
                                         regarding bankruptcy
                                         submissions, staffing and
                                         related issues
09/01/17   D. A. Mawhinney      0.40     Draft email to R. Hosking              148.00
                                         regarding staffing and budget
09/01/17   A. R. D. Paine       1.00     Monitor claims register and            370.00
                                         circulate updates regarding
                                         important employee proofs of
                                         claims
09/01/17   A. R. D. Paine       2.40     Review and summarize new               888.00
                                         docket entries representing
                                         significant developments in
                                         bankruptcy case over the past
                                         week and circulate summary to
                                         interested attorneys
09/01/17   T. C. Ryan           0.80     Address file opening issues for        560.00
                                         additional matters arising out of
                                         debtors' counsel conflict
09/05/17   R. W. Hosking        0.90     Conferences and follow up              630.00
                                         regarding current matters,
                                         including insurance and related
                                         corporate matters
09/05/17   P. Marini            1.00     Conference call with client            700.00
                                         regarding letter to Toshiba
09/05/17   T. C. Ryan           1.00     Address file opening issues            700.00
                                         related to conflict counsel matter
09/06/17   P. Marini            2.00     Conference call with Weil re:        1,400.00
                                         Italian corporate and finance law
                                         matters
09/07/17   R. W. Hosking        1.30     Address open matters by                910.00
                                         reviewing and summarizing for
                                         filings
09/07/17   R. W. Hosking        1.50     Begin preparation of budgets         1,050.00
                                         and staffing, and
                                         emails/conferences regarding
                                         same
09/08/17   A. R. D. Paine       1.20     Review and summarize new               444.00
                                         docket entries representing
                                         significant developments in
                                         bankruptcy case over the past
                                         week and circulate summary to
                                         interested attorneys
09/08/17   T. C. Ryan           1.00     Organize quarterly staffing            700.00
                                         budget and matter management
                                         plan
09/11/17   R.M. Fallon          0.40     Follow up on supplemental              100.00
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DATE       NAME                HOURS    DESCRIPTION                        AMOUNT
                                        disclosures for employment
                                        purposes
09/11/17   R.M. Fallon          0.60    Follow up regarding August            150.00
                                        monthly fee statement
09/11/17   A. J. Parker         4.90    Research regarding                  1,813.00
                                        employment law issue
09/11/17   M. A. Pavlick        0.90    Meeting regarding employee            630.00
                                        concern and review
                                        correspondence regarding same
09/11/17   T. C. Ryan           0.70    Review background with team           490.00
                                        regarding inquiry on
                                        Pennsylvania employment law
09/11/17   T. C. Ryan           0.70    Review research on                    490.00
                                        Pennsylvania employment law
                                        and factual background
09/11/17   T. C. Ryan           0.80    Review and revise budget per          560.00
                                        trustee guidelines
09/11/17   N. A. Stockey        1.20    Meet with A. Parker regarding         444.00
                                        employment issues
09/11/17   J. A. Wright III     0.40    Review original retention papers      280.00
                                        and order
09/11/17   J. A. Wright III     1.90    Draft supplemental retention        1,330.00
                                        papers for additional matters
09/11/17   J. A. Wright III     0.10    Emails with T. Ryan regarding           70.00
                                        retention papers
09/11/17   J. A. Wright III     0.50    Call with T. Ryan regarding           350.00
                                        retention papers
09/12/17   R.M. Fallon          0.20    Review case docket and                  50.00
                                        download copies of pleadings
                                        for C. Dale's review
09/12/17   R.M. Fallon          3.90    Work on fee statement for the         975.00
                                        month of August
09/12/17   R.M. Fallon          0.20    Discuss August monthly fee              50.00
                                        statement with J. Wright
09/12/17   P. Marini            0.50    Exchange of correspondence            350.00
                                        with Weil re: update on Italian
                                        corporate law issue
09/12/17   A. J. Parker         1.10    Draft summary of research on          407.00
                                        employment law matters
09/12/17   M. A. Pavlick        0.90    Phone call with client regarding      630.00
                                        employee letter
09/12/17   N. A. Stockey        0.60    Review and analyze research           222.00
                                        regarding wrongful employment
                                        laws issues, including case law,
                                        and limitations on actions from
                                        A. Parker
09/12/17   J. A. Wright III     0.30    Emails/Call with T. Ryan              210.00
                                        regarding supplemental
                                        application
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DATE       NAME                HOURS    DESCRIPTION                            AMOUNT
09/13/17   R.M. Fallon          0.40    Receive and review interim fee           100.00
                                        application with exhibits for filing
09/13/17   R.M. Fallon          5.80    Work on August monthly fee             1,450.00
                                        statement and spreadsheet
09/13/17   R. W. Hosking        2.10    Review of matters and prepare          1,470.00
                                        materials for filings
09/13/17   A. R. D. Paine       0.70    Review interim compensation              259.00
                                        procedures order, bankruptcy
                                        rules, local rules, and guidelines
                                        for instructions regarding filing
                                        interim fee application and
                                        serving courtesy hard copy on
                                        court
09/13/17   M. A. Pavlick        0.50    Follow-up regarding employee             350.00
                                        concern issues
09/13/17   J. A. Wright III     1.00    Revise supplemental application          700.00
                                        as conflicts counsel
09/14/17   R.M. Fallon          2.50    Prepare and e-file K&L First             625.00
                                        Interim Fee Application
09/14/17   R.M. Fallon          0.40    Attend to courtesy copies of             100.00
                                        K&L First Interim Fee
                                        Application to Chambers and
                                        US Trustee
09/14/17   R.M. Fallon          0.20    Correspond with M. Beltrami                50.00
                                        regarding monthly fee statement
09/14/17   R.M. Fallon          0.40    Follow up and update                     100.00
                                        disclosures for supplemental
                                        employment application of K&L
09/14/17   R.M. Fallon          0.20    Correspond with J. Wright                  50.00
                                        regarding disclosures for
                                        supplemental employment
                                        application of K&L
09/14/17   R.M. Fallon          0.10    Correspondence regarding                   25.00
                                        professional fees
09/14/17   R.M. Fallon          0.20    Assist J. Wright with K&L                  50.00
                                        supplemental retention
                                        application
09/14/17   R.M. Fallon          2.90    Prepare ECF service list and             725.00
                                        certificate of service for K&L first
                                        interim fee application
09/14/17   P. Marini            0.20    Sent e-mail to Weil re: corporate        140.00
                                        law issue - response to letter
09/15/17   A. Campana           1.20    Review and reply to emails of            444.00
                                        Weil re: Italian corporate law
                                        issues; prepare for the
                                        conference call set with the
                                        adverse counsels for tomorrow
09/15/17   R.M. Fallon          0.10    Correspond with C. Dale re                 25.00
                                        supplemental disclosures
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DATE       NAME                HOURS    DESCRIPTION                        AMOUNT
09/15/17   P. Marini            1.50    Sent e-mail to Weil re: Italian     1,050.00
                                        corporate law issues; conf call
                                        with Weil re: same; review of
                                        documents regarding same
09/15/17   A. R. D. Paine       1.90    Review and summarize new              703.00
                                        docket entries representing
                                        significant developments in
                                        bankruptcy case over the past
                                        week and circulate summary to
                                        interested attorneys
09/15/17   M. A. Pavlick        0.50    Evaluate issues related to            350.00
                                        excluding employee from
                                        meeting
09/15/17   T. C. Ryan           1.10    Arrange for coverage and              770.00
                                        debrief for legislative hearing
09/16/17   A. Campana           1.40    Take part in the conference call      518.00
                                        with Skadden, Weil, Alix
                                        Partners, Orsingher and P.
                                        Marini re: Italian legal issues
                                        and options
09/18/17   R.M. Fallon          0.20    Correspond with J. Wright               50.00
                                        regarding disclosures for
                                        supplemental affidavit
09/18/17   R.M. Fallon          0.20    Correspond with team regarding          50.00
                                        budget
09/18/17   R.M. Fallon          0.20    Correspond with J. Wright               50.00
                                        regarding upcoming filings
09/18/17   R.M. Fallon          0.30    Review reports re disclosure            75.00
                                        parties
09/18/17   R.M. Fallon          0.20    Correspond with team re budget         50.00
09/18/17   R. W. Hosking        1.30    Review and approval of                910.00
                                        bankruptcy court filings,
                                        including my declaration and
                                        related documents
09/18/17   R. W. Hosking        1.40    Emails to/from K&LG lawyers           980.00
                                        regarding planning, staffing and
                                        pleadings and notes regarding
                                        same
09/18/17   P. Marini            0.50    E-mail to Weil to answer              350.00
                                        questions regarding letter
09/18/17   J. A. Wright III     0.60    Revise supplemental application       420.00
                                        and Hosking's declaration
09/18/17   J. A. Wright III     0.30    Email R. Hosking regarding            210.00
                                        supplemental declaration
09/19/17   R.M. Fallon          0.20    Coordinate with T. Heid                 50.00
                                        regarding new matter regarding
                                        scope of employment
09/19/17   S. Germani           2.00    Exchange of correspondence            740.00
                                        with Weil re: coordination for
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DATE       NAME                HOURS    DESCRIPTION                          AMOUNT
                                        corporate meeting and updates
                                        on the content of the resolutions
                                        adopted thereafter; attending
                                        phone conversation with S.
                                        Grosso re: update and follow up
                                        after the meeting and next steps
09/19/17   P. Marini            1.00    Reviewing correspondence                700.00
                                        regarding Italian law issues
09/20/17   S. Germani           2.00    Further analysis on Italian             740.00
                                        corporate law issues; internal
                                        meeting with P. Marini for
                                        discussion thereon and
                                        formulating clarification to Weil;
                                        reviews and comments to the
                                        corporate meeting dated Sep.
                                        19
09/20/17   R. W. Hosking        1.00    Final review of pleadings and           700.00
                                        declaration and notes regarding
                                        same
09/20/17   R. W. Hosking        0.50    Emails to/from J. Wright                350.00
                                        regarding pleadings
09/20/17   P. Marini            2.50    Internal meeting with S.              1,750.00
                                        Germani re: Italian corporate
                                        laws issues; exchange of e-
                                        mails and conference call re:
                                        same
09/20/17   J. A. Wright III     0.20    Emails with R. Hosking                  140.00
                                        regarding supplemental
                                        application and declaration
09/20/17   J. A. Wright III     1.10    Revise supplemental application         770.00
                                        and proposed order and email
                                        Weil regarding same
09/21/17   R.M. Fallon          0.40    Update August budget figures            100.00
09/21/17   R.M. Fallon          0.40    Update professional fee                 100.00
                                        spreadsheet
09/21/17   R.M. Fallon          3.50    Prepare August monthly fee              875.00
                                        statement
09/21/17   R.M. Fallon          0.30    Draft cover letter for August             75.00
                                        monthly fee statement
09/21/17   R.M. Fallon          0.70    Prepare internal WEC August             175.00
                                        monthly fee statement re 80%
                                        breakdown
09/21/17   R.M. Fallon          0.20    Revisions to August fee                   50.00
                                        statement
09/21/17   R.M. Fallon          0.30    Review of parties re                      75.00
                                        supplemental employment
                                        disclosures
09/21/17   R.M. Fallon          0.10    Discuss with J. Wright August             25.00
                                        fee statement
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DATE       NAME                HOURS    DESCRIPTION                        AMOUNT
09/21/17   R. W. Hosking        0.90    Review of open matters for           630.00
                                        substance and staffing/strategy
09/21/17   R. W. Hosking        0.30    Notes regarding                       210.00
                                        staffing/strategy
09/21/17   P. Marini            2.00    Internal meeting with S.            1,400.00
                                        Germani re: Italian corporate
                                        law issues and discussions on
                                        the alternative scenarios
09/21/17   J. A. Wright III     0.10    Emails with Weil regarding KLG          70.00
                                        supplemental retention papers
09/22/17   P. Marini            0.50    Review of WEC response letter         350.00
09/22/17   P. Marini            0.50    Conference call with client           350.00
                                        regarding update on Italian
                                        corporate issues
09/22/17   A. R. D. Paine       1.20    Review and summarize new              444.00
                                        docket entries representing
                                        significant developments in
                                        bankruptcy case over the past
                                        week and circulate summary to
                                        interested attorneys
09/22/17   J. A. Wright III     0.70    Revise monthly fee statements         490.00
09/22/17   J. A. Wright III     0.40    Call with D. Mawhinney                280.00
                                        regarding monthly fee statement
09/24/17   J. A. Wright III     0.70    Review and comment on August          490.00
                                        invoices
09/25/17   R.M. Fallon          0.10    Correspond with team regarding          25.00
                                        budget and staffing plan
09/25/17   R.M. Fallon          0.40    Meet with J. Wright regarding         100.00
                                        fee statement and staffing plan
09/25/17   R.M. Fallon          0.20    Scan and email edits to fee             50.00
                                        statement to T. Doyle
09/25/17   R.M. Fallon          0.10    Discuss AFA with J. Wright              25.00
09/25/17   R.M. Fallon          0.10    Discuss edits re monthly fee            25.00
                                        statement
09/25/17   S. Germani           3.50    Legal research re: Italian          1,295.00
                                        corporate legal issues and draft
                                        exchange of correspondence in
                                        connection therewith
09/25/17   R. W. Hosking        1.30    Review and revise staffing and        910.00
                                        budget plans, including review
                                        of matters
09/25/17   J. A. Wright III     0.30    Conf. with R. Fallon regarding        210.00
                                        Westinghouse August invoices
09/25/17   J. A. Wright III     0.10    Call with T. Ryan                      70.00
09/25/17   J. A. Wright III     0.20    Revise fee statement                  140.00
09/25/17   J. A. Wright III     0.10    Email T. Ryan                          70.00
09/25/17   J. A. Wright III     0.10    Revise WEC staffing plan               70.00
09/25/17   J. A. Wright III     0.10    Conf. with R. Fallon regarding         70.00
                                        same
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DATE       NAME                HOURS    DESCRIPTION                       AMOUNT
09/25/17   J. A. Wright III     0.60    Revise supplemental retention       420.00
                                        application
09/25/17   J. A. Wright III     0.20    Email UST regarding same             140.00
09/26/17   S. Germani           4.70    Exchange of correspondence         1,739.00
                                        with Weil and WEC regarding
                                        further analysis and updates on
                                        the possible scenarios and next
                                        steps
09/26/17   P. Marini            1.50    Calls and exchange of e-mails      1,050.00
                                        regarding corporate law
                                        procedure
09/26/17   T. C. Ryan           0.50    Resolve billing issues for           350.00
                                        compliance with bankruptcy
                                        court requirements
09/26/17   J. A. Wright III     0.30    Revise proposed order per UST        210.00
                                        comments
09/26/17   J. A. Wright III     0.30    Confs. with R. Fallon regarding      210.00
                                        August invoice revisions and
                                        budget and staffing plan.
09/26/17   J. A. Wright III     0.10    Emails with UST regarding              70.00
                                        same
09/26/17   J. A. Wright III     0.70    Finalize application papers          490.00
09/26/17   J. A. Wright III     0.10    Email T. Ryan regarding same          70.00
09/27/17   R.M. Fallon          0.20    Correspondence regarding e-           50.00
                                        DAT follow up
09/27/17   R.M. Fallon          0.70    Attend to reports for current        175.00
                                        staffing and staffing budget
09/27/17   S. Germani           2.50    Review and analysis regarding        925.00
                                        Italian legal issues
09/27/17   R. W. Hosking        0.70    Conferences and emails with          490.00
                                        client and consultant
09/27/17   P. Marini            5.00    Conference calls and meetings      3,500.00
                                        regarding Italian legal issues
09/27/17   A. R. D. Paine       0.70    Review docket entries,               259.00
                                        scheduling orders, and fee
                                        application-related filings to
                                        determine whether and when a
                                        hearing date or objection
                                        deadline had been scheduled
                                        for the first interim fee
                                        applications
09/27/17   J. A. Wright III     0.10    Email/call with J. Chiccarino          70.00
                                        regarding e-DAT invoice
                                        question
09/27/17   J. A. Wright III     0.10    Revise supplemental application        70.00
09/27/17   J. A. Wright III     0.10    Email Weil regarding same              70.00
09/27/17   J. A. Wright III     0.10    Revise staffing plan and email         70.00
                                        same to KLG team
09/27/17   J. A. Wright III     0.20    Email L. Donahue regarding           140.00
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DATE       NAME                   HOURS   DESCRIPTION                          AMOUNT
                                          supplemental application
09/28/17   F. Carloni              0.40   Consider incoming potential            280.00
                                          regulatory issues regarding
                                          Italian legal matter
09/28/17   R.M. Fallon             0.10   Revisions to exhibit for                 25.00
                                          Hosking's declaration
09/28/17   R.M. Fallon             0.20   Review hearing notice and                50.00
                                          calendar same
09/28/17   R.M. Fallon             0.20   Update pro hac applications             50.00
09/28/17   R.M. Fallon             1.60   Revisions to professional fee          400.00
                                          spreadsheet
09/28/17   R.M. Fallon             2.10   Revisions to monthly fee               525.00
                                          statement
09/28/17   R.M. Fallon             0.20   Revise monthly fee statement             50.00
                                          cover letter
09/28/17   R.M. Fallon             0.40   Revisions to Westinghouse              100.00
                                          internal August fee statement re
                                          break out
09/28/17   S. Germani              3.50   Further queries from Weil re:        1,295.00
                                          Italian corporate legal matter;
                                          exchange of correspondence
                                          and coordination with internal
                                          team for regulatory related
                                          issues; internal meeting with P.
                                          Marini for updates
09/28/17   P. Marini               1.00   Internal meeting with S.               700.00
                                          Germani re: Italian legal matter
09/28/17   V. Salvadori di Wies    4.80   Considering Italian tax issues       3,360.00
                                          concerning concerning
                                          approach to legal matter
09/28/17   J. A. Wright III        0.10   Finalize budget and staffing plan        70.00
                                          for August/November and email
                                          regarding same
09/28/17   J. A. Wright III        0.20   Finalize supplemental                  140.00
                                          application and declaration
09/28/17   J. A. Wright III        0.20   Confs. with R. Fallon regarding        140.00
                                          filing and service for same
09/28/17   J. A. Wright III        0.20   Emails with Weil, KCC                  140.00
                                          regarding same
09/29/17   A. Campana              1.20   Take part in the introductory          444.00
                                          conf call with M. Trabatti of Alix
                                          Italy together with P. Marini re:
                                          approach to Italian legal matter
09/29/17   A. Campana              0.80   Study Italian legal matter; email      296.00
                                          and talk with P. Marini re:
                                          results to be delivered to WEC
09/29/17   R.M. Fallon             4.00   Work on revisions to monthly         1,000.00
                                          statement
09/29/17   R.M. Fallon             0.20   Discussions with J. Wright               50.00
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DATE       NAME                     HOURS   DESCRIPTION                         AMOUNT
                                            regarding revisions to monthly
                                            statement
09/29/17   R.M. Fallon               0.30   Prepare cover letter and               75.00
                                            arrange for delivery to
                                            Chambers re supplemental
                                            employment application
09/29/17   R.M. Fallon               1.00   Additional edits to monthly           250.00
                                            statement and provide redlines
                                            of same
09/29/17   S. Germani                3.50   Reviewing preliminary draft of      1,295.00
                                            the memo prepared for client
09/29/17   S. Jones                  0.70   Telephone conference with M.          490.00
                                            Rush and T. Ryan regarding
                                            investigation background
09/29/17   A. R. D. Paine            2.80   Review and summarize new            1,036.00
                                            docket entries representing
                                            significant developments in
                                            bankruptcy case over the past
                                            week and circulate summary to
                                            interested attorneys
09/29/17   A. J. Parker              2.10   Research regarding potential          777.00
                                            claims under Pennsylvania and
                                            federal law; draft summary of
                                            research
09/29/17   M. A. Pavlick             0.30   Review employee letter and            210.00
                                            evaluate SOL issues
09/29/17   T. C. Ryan                1.20   Follow-up on potential                840.00
                                            employment claim
09/29/17   V. Salvadori di Wies      4.50   Considering Italian tax issues      3,150.00
                                            concerning Italian legal matter
09/29/17   N. A. Stockey             0.90   Review correspondence from            333.00
                                            employee and legal analysis
                                            regarding SOL and employment
                                            issues
09/29/17   J. A. Wright III          0.30   Confs. with R. Fallon regarding       210.00
                                            August invoices
                              TOTAL FEES            156.80 hrs              $   76,448.00
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                                  TIMEKEEPER SUMMARY

A. Campana                             4.60   hrs at    $    370.00   / hr          1,702.00
F. Carloni                             0.40   hrs at    $    700.00   / hr            280.00
R.M. Fallon                           37.80   hrs at    $    250.00   / hr          9,450.00
S. Germani                            21.70   hrs at    $    370.00   / hr          8,029.00
R. W. Hosking                         15.50   hrs at    $    700.00   / hr         10,850.00
S. Jones                               0.70   hrs at    $    700.00   / hr            490.00
P. Marini                             19.70   hrs at    $    700.00   / hr         13,790.00
D. A. Mawhinney                        0.40   hrs at    $    370.00   / hr            148.00
A. R. D. Paine                        11.90   hrs at    $    370.00   / hr          4,403.00
A. J. Parker                           8.10   hrs at    $    370.00   / hr          2,997.00
M. A. Pavlick                          3.10   hrs at    $    700.00   / hr          2,170.00
T. C. Ryan                             7.80   hrs at    $    700.00   / hr          5,460.00
V. Salvadori di Wiesenhoff             9.30   hrs at    $    700.00   / hr          6,510.00
N. A. Stockey                          2.70   hrs at    $    370.00   / hr            999.00
J. A. Wright III                      13.10   hrs at    $    700.00   / hr          9,170.00
                             TOTAL FEES                156.80 hrs             $    76,448.00



                             DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                        AMOUNT
Long Distance Courier                                                                 40.39
Telephone / Conference Calls / Fx Line Trans                                           2.42
Westlaw Research                                                                     144.04
                         DISBURSEMENTS & OTHER CHARGES                        $      186.85
 17-10751-mew             Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12                                                                          Exhibit
                                 Time Entries Part 2 Pg 45 of 55
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      November 13, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3450609
Cranberry Township, PA 16066                                                         Services Through                      :      October 31, 2017




0236915.00043           Non-adverse corporate matters


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $         18,057.00
Disbursements and Other Charges                                                                                                          $            564.07

CURRENT INVOICE DUE                                                                                                                      $         18,621.07




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12          Exhibit
                         Time Entries Part 2 Pg 46 of 55
                                                                       Invoice # 3450609
                                                                          0236915.00043
                                                                              Page 2 of 5

                                       FEES

DATE       NAME                HOURS     DESCRIPTION                         AMOUNT
10/02/17   C.A. Dale III        0.60     Confer and correspond with T.         420.00
                                         Ryan regarding sale and
                                         governance issues
10/02/17   R.M. Fallon          0.40     Receipt of final invoices for          100.00
                                         updating of August monthly fee
                                         statement
10/02/17   S. Jones             0.30     Review email correspondence            210.00
                                         regarding governance issues
10/02/17   J. A. Wright III     0.30     Conference with C. Dale                210.00
                                         regarding case developments
10/03/17   C.A. Dale III        1.00     Calls with client regarding            700.00
                                         governance and sale issues
10/03/17   R.M. Fallon          2.30     Review and pull together final         575.00
                                         exhibits for monthly fee
                                         statement and prep package for
                                         J. Wright
10/03/17   R.M. Fallon          0.30     Coordinate circulation of K&L            75.00
                                         monthly fee statement to notice
                                         parties
10/03/17   R.M. Fallon          0.40     Prepare Westinghouse internal          100.00
                                         version of K&L monthly fee
                                         statement
10/03/17   R.M. Fallon          0.40     Collect LEDES files for J. Wright      100.00
                                         and reporting to US Trustee
10/03/17   S. Jones             1.00     Review email correspondence            700.00
                                         and conference regarding
                                         governance issues
10/03/17   J. A. Wright III     0.40     Review and file KLG August             280.00
                                         monthly fee statement
10/03/17   J. A. Wright III     0.10     Email same to service parties            70.00
10/03/17   J. A. Wright III     0.10     Emails with US Trustee                   70.00
10/04/17   R.M. Fallon          0.20     Calendar upcoming objection              50.00
                                         and hearing deadlines
10/05/17   R.M. Fallon          0.20     Attention to September monthly           50.00
                                         fee statement
10/06/17   R.M. Fallon          0.40     Discussions with J. Wright             100.00
                                         regarding September fee
                                         statement and revisions
10/06/17   J. A. Wright III     1.90     Review and revise invoices for       1,330.00
                                         September for privilege and
                                         confidentiality concerns.
10/08/17   A. R. D. Paine       1.90     Review and summarize new               703.00
                                         docket entries representing
                                         significant developments in
                                         bankruptcy case over the past
                                         week and circulate summary to
                                         interested attorneys
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12        Exhibit
                         Time Entries Part 2 Pg 47 of 55
                                                                     Invoice # 3450609
                                                                        0236915.00043
                                                                            Page 3 of 5

DATE       NAME                HOURS    DESCRIPTION                        AMOUNT
10/09/17   R.M. Fallon          0.40    Attention to September fee           100.00
                                        statement
10/09/17   J. A. Georges        0.30    Prepare timeline at the request         75.00
                                        of T. Ryan
10/09/17   A. J. Parker         3.50    Draft and revise memorandum         1,295.00
                                        regarding substantive legal
                                        issues relating to potential
                                        employee related issue
10/09/17   A. J. Parker         0.40    Phone conference with M.              148.00
                                        Pavlick regarding issues in
                                        memorandum
10/09/17   M. A. Pavlick        0.40    Review and revise                     280.00
                                        memorandum regarding
                                        employee claim
10/09/17   M. A. Pavlick        0.80    Discuss Section 7 issues with A.      560.00
                                        Parker and follow up regarding
                                        same
10/09/17   T. C. Ryan           1.70    Review and revise follow-up         1,190.00
                                        memorandum on employment
                                        issue
10/10/17   R.M. Fallon          0.60    Review narratives and                 150.00
                                        correspond with Milan office
                                        regarding fee statement
10/10/17   R.M. Fallon          0.10    Correspond with D. Mawhinney            25.00
                                        re payment on fees
10/10/17   R.M. Fallon          0.10    Review Order granting K&L               25.00
                                        supplemental employment
                                        application
10/10/17   R.M. Fallon          0.10    Correspond with V. Martinez             25.00
                                        regarding narratives
10/10/17   J. A. Wright III     0.20    Review docket regarding notice        140.00
                                        of presentment for KLG
                                        retention
10/10/17   J. A. Wright III     0.20    Emails regarding KLG retention        140.00
10/10/17   J. A. Wright III     0.10    Prepared proposed order                70.00
                                        regarding KLG retention
                                        supplement
10/10/17   J. A. Wright III     0.20    Email chambers regarding KLG          140.00
                                        retention supplement
10/10/17   J. A. Wright III     0.10    Review order regarding KLG              70.00
                                        retention supplement and
                                        emails regarding same
10/10/17   J. A. Wright III     0.50    Review and comment on                 350.00
                                        September invoices for privilege
                                        and confidentiality
10/11/17   R.M. Fallon          3.20    Review J. Wright's edits and          800.00
                                        revise fee statement accordingly
10/12/17   R.M. Fallon          0.20    Discuss monthly statement and           50.00
                                        compensation procedures with
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12        Exhibit
                         Time Entries Part 2 Pg 48 of 55
                                                                     Invoice # 3450609
                                                                        0236915.00043
                                                                            Page 4 of 5

DATE       NAME                HOURS    DESCRIPTION                        AMOUNT
                                        J. Wright
10/13/17   R.M. Fallon          0.40    Follow up on monthly fee              100.00
                                        statement
10/13/17   A. R. D. Paine       2.30    Review and summarize new              851.00
                                        docket entries representing
                                        significant developments in
                                        bankruptcy case over the past
                                        week and circulate summary to
                                        interested attorneys
10/13/17   T. C. Ryan           0.80    Conference with client regarding      560.00
                                        employment matter
10/13/17   T. C. Ryan           0.70    Review and revise September           490.00
                                        pro formas regarding
                                        confidentiality and privilege
10/13/17   J. A. Wright III     0.10    Conference with R. Fallon               70.00
                                        regarding September bill review
10/13/17   J. A. Wright III     0.30    Review September invoices for         210.00
                                        confidentiality and privilege
10/16/17   R.M. Fallon          2.00    Edits to September monthly            500.00
                                        statements and confer with J.
                                        Wright regarding same
10/16/17   J. A. Wright III     0.50    Review and comment on                 350.00
                                        September invoices for privilege
                                        and confidentiality.
10/17/17   R.M. Fallon          0.30    Attention to monthly fee                75.00
                                        statement re E-DAT fees
10/19/17   R.M. Fallon          0.20    Update professional fee                 50.00
                                        spreadsheet re interim fees
10/19/17   R.M. Fallon          0.50    Reconcile holdback fees re            125.00
                                        interim payment and follow up
                                        on breakdown for WEC
10/20/17   R.M. Fallon          0.40    Revise fee and expense                100.00
                                        breakout for WEC internally
                                        regarding holdback fees
10/20/17   A. R. D. Paine       1.40    Review and summarize new              518.00
                                        docket entries representing
                                        significant developments in
                                        bankruptcy case over the past
                                        week and circulate summary to
                                        interested attorneys
10/20/17   J. A. Wright III     0.10    Emails with KLG team regarding          70.00
                                        holdback fees
10/20/17   J. A. Wright III     0.10    Email client regarding holdback         70.00
                                        fee approval
10/23/17   R.M. Fallon          4.00    Updating of professional fee        1,000.00
                                        spreadsheet re monthly fees
10/24/17   R.M. Fallon          1.20    Update professional fee               300.00
                                        spreadsheet
10/26/17   R.M. Fallon          0.80    Update professional fee               200.00
 17-10751-mew       Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12              Exhibit
                           Time Entries Part 2 Pg 49 of 55
                                                                             Invoice # 3450609
                                                                                0236915.00043
                                                                                    Page 5 of 5

DATE         NAME                    HOURS      DESCRIPTION                        AMOUNT
                                                spreadsheet
10/26/17     R.M. Fallon              1.20      Prepare September monthly fee         300.00
                                                statement and cover letter
10/27/17     R.M. Fallon              0.20      Discuss with and e-mail D.              50.00
                                                Mawhinney LEDES files for US
                                                Trustee
10/27/17     D. A. Mawhinney          0.70      Revise, file, and circulate           259.00
                                                September 2016 KLG Fee
                                                Statement
10/30/17     A. R. D. Paine           0.90      Review and summarize new              333.00
                                                docket entries representing
                                                significant developments in
                                                bankruptcy case over the past
                                                week and circulate summary to
                                                interested attorneys
                              TOTAL FEES                 44.40 hrs            $    18,057.00


                                   TIMEKEEPER SUMMARY

C.A. Dale III                           1.60   hrs at   $    700.00   / hr          1,120.00
R.M. Fallon                            20.50   hrs at   $    250.00   / hr          5,125.00
J. A. Georges                           0.30   hrs at   $    250.00   / hr             75.00
S. Jones                                1.30   hrs at   $    700.00   / hr            910.00
D. A. Mawhinney                         0.70   hrs at   $    370.00   / hr            259.00
A. R. D. Paine                          6.50   hrs at   $    370.00   / hr          2,405.00
A. J. Parker                            3.90   hrs at   $    370.00   / hr          1,443.00
M. A. Pavlick                           1.20   hrs at   $    700.00   / hr            840.00
T. C. Ryan                              3.20   hrs at   $    700.00   / hr          2,240.00
J. A. Wright III                        5.20   hrs at   $    700.00   / hr          3,640.00
                              TOTAL FEES                44.40 hrs             $    18,057.00



                           DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                        AMOUNT
Charge for Transcripts                                                                42.00
Company Search                                                                         4.50
Filing Fees                                                                          400.00
Long Distance Courier                                                                 79.50
Pacer Research                                                                         6.90
Taxi / Cab Fare                                                                       31.17
                              DISBURSEMENTS & OTHER CHARGES                   $      564.07
 17-10751-mew             Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12                                                                          Exhibit
                                 Time Entries Part 2 Pg 50 of 55
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      December 14, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3464385
Cranberry Township, PA 16066                                                         Services Through                      :      November 30, 2017




0236915.00043           Non-adverse corporate matters


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $           9,602.00
Disbursements and Other Charges                                                                                                          $             329.42

CURRENT INVOICE DUE                                                                                                                      $           9,931.42




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12        Exhibit
                         Time Entries Part 2 Pg 51 of 55
                                                                     Invoice # 3464385
                                                                        0236915.00043
                                                                            Page 2 of 4

                                       FEES

DATE       NAME                HOURS     DESCRIPTION                       AMOUNT
11/02/17   A. R. D. Paine       0.30     Confirm interim compensation        111.00
                                         procedures and calendar
                                         deadlines for circulating and
                                         filing second interim fee
                                         application
11/05/17   J. A. Wright III     3.00     Review and revise October          2,100.00
                                         invoices for privilege and
                                         confidentiality
11/06/17   A. R. D. Paine       2.10     Review and summarize new             777.00
                                         docket entries representing
                                         significant developments in
                                         bankruptcy case over the past
                                         week and circulate summary to
                                         interested attorneys
11/07/17   R.M. Fallon          0.40     Draft e-mail memo regarding          100.00
                                         professional fees
11/07/17   D. A. Mawhinney      0.20     Revise email to T. Ryan                74.00
                                         regarding fee statements
11/09/17   R.M. Fallon          0.10     Follow up regarding monthly fee        25.00
                                         statement
11/10/17   R.M. Fallon          0.10     Follow up on monthly fee               25.00
                                         statement
11/10/17   R.M. Fallon          0.10     Calendar case deadlines               25.00
11/13/17   R.M. Fallon          0.80     Prepare WEC internal report for      200.00
                                         fee breakdown on September
                                         monthly fee statement
11/13/17   A. R. D. Paine       1.00     Review and summarize new             370.00
                                         docket entries representing
                                         significant developments in
                                         bankruptcy case over the past
                                         week and circulate summary to
                                         interested attorneys
11/13/17   J. A. Wright III     0.10     Conference with D. Mawhinney           70.00
                                         regarding October invoices
11/14/17   R.M. Fallon          6.40     Update profession fee              1,600.00
                                         spreadsheet for October
                                         statement and prepare monthly
                                         fee statement
11/15/17   R.M. Fallon          1.40     Updating of professional fee         350.00
                                         spreadsheet
11/15/17   R.M. Fallon          0.60     Revise monthly fee statement         150.00
                                         and cover letter
11/15/17   R.M. Fallon          0.20     Call with L. Ickes re e-DAT            50.00
                                         statements
11/15/17   D. A. Mawhinney      0.30     Draft email to D. Anundson           111.00
                                         regarding payment of fees
11/16/17   R.M. Fallon          0.70     Revisions to and finalize            175.00
 17-10751-mew     Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12            Exhibit
                         Time Entries Part 2 Pg 52 of 55
                                                                         Invoice # 3464385
                                                                            0236915.00043
                                                                                Page 3 of 4

DATE       NAME                     HOURS   DESCRIPTION                         AMOUNT
                                            October monthly fee statement
                                            for filing
11/16/17   D. A. Mawhinney           0.80   Review, revise, and file October      296.00
                                            fee statement
11/20/17   R.M. Fallon               0.60   Correspond regarding payment          150.00
                                            of professional fees and update
                                            fee spreadsheet
11/20/17   J. A. Georges             0.20   Respond to A. Cashman, A.               50.00
                                            Parker request regarding ESI
                                            date ranges for J. Gutierrez
11/20/17   J. A. Georges             0.30   Communications with e-DAT               75.00
                                            regarding same
11/21/17   R.M. Fallon               0.20   Correspond regarding fee                50.00
                                            payment and update fee
                                            spreadsheet accordingly
11/27/17   A. R. D. Paine            1.80   Review and summarize new              666.00
                                            docket entries representing
                                            significant developments in
                                            bankruptcy case over the past
                                            two weeks and circulate
                                            summary to interested attorneys
11/28/17   R.M. Fallon               1.20   Prepare internal monthly fee          300.00
                                            statement for WEC regarding
                                            breakdown
11/28/17   A. R. D. Paine            0.60   Review and summarize letter           222.00
                                            and response letter regarding
                                            employee benefits issue.
11/30/17   R.M. Fallon               0.20   Discuss with D. Mawhinney               50.00
                                            preparation of Second Interim
                                            Fee Application
11/30/17   R.M. Fallon               0.80   Begin drafting of second interim      200.00
                                            fee spreadsheet
11/30/17   D. A. Mawhinney           1.30   Draft Second Interim Fee              481.00
                                            Application
11/30/17   D. A. Mawhinney           0.70   Draft email to T. Ryan, J.            259.00
                                            Wright, B. Fallon regarding fee
                                            narratives for Second Interim
                                            Fee Application
11/30/17   J. A. Wright III          0.40   Conferences with D. Mawhinney         280.00
                                            regarding interim fee application
11/30/17   J. A. Wright III          0.10   Emails with T. Ryan, D.                 70.00
                                            Mawhinney regarding interim
                                            fee application.
11/30/17   J. A. Wright III          0.10   Review AFA regarding notice             70.00
                                            issue
11/30/17   J. A. Wright III          0.10   Conference with D. Mawhinney            70.00
                                            regarding notice issue.
                              TOTAL FEES              27.20 hrs             $    9,602.00
 17-10751-mew      Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12         Exhibit
                          Time Entries Part 2 Pg 53 of 55
                                                                       Invoice # 3464385
                                                                          0236915.00043
                                                                              Page 4 of 4


                              TIMEKEEPER SUMMARY

R.M. Fallon                      13.80   hrs at   $    250.00   / hr          3,450.00
J. A. Georges                     0.50   hrs at   $    250.00   / hr            125.00
D. A. Mawhinney                   3.30   hrs at   $    370.00   / hr          1,221.00
A. R. D. Paine                    5.80   hrs at   $    370.00   / hr          2,146.00
J. A. Wright III                  3.80   hrs at   $    700.00   / hr          2,660.00
                        TOTAL FEES                27.20 hrs             $     9,602.00



                        DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                  AMOUNT
Couriers                                                                         5.93
ESI Conversion                                                                 133.36
Long Distance Courier                                                          190.13
                        DISBURSEMENTS & OTHER CHARGES                   $      329.42
 17-10751-mew             Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12                                                                          Exhibit
                                 Time Entries Part 2 Pg 54 of 55
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      September 28, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3426896
Cranberry Township, PA 16066                                                         Services Through                      :      August 31, 2017




0236915.00044           Represent client in responding to third-party subpoena from
                        the U.S. DOJ.


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $           1,221.00
Disbursements and Other Charges                                                                                                          $              66.44

CURRENT INVOICE DUE                                                                                                                      $           1,287.44




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
 17-10751-mew       Doc 2519-10 Filed 02/13/18 Entered 02/13/18 12:13:12          Exhibit
                           Time Entries Part 2 Pg 55 of 55
                                                                         Invoice # 3426896
                                                                            0236915.00044
                                                                                Page 2 of 2

                                          FEES

DATE         NAME                 HOURS     DESCRIPTION                         AMOUNT
08/08/17     A. R. Cashman         1.20     Review documents responsive           444.00
                                            to DOJ third-party subpoena
                                            and prepare them to be
                                            processed and produced
08/09/17     J. A. Chiccarino      0.70     Coordinate with litigation            259.00
                                            support to process documents
                                            for production
08/11/17     A. R. Cashman         0.20     Correspond with DOJ and WEC             74.00
                                            regarding status of production in
                                            response to third-party
                                            subpoena
08/14/17     A. R. Cashman         0.60     Coordinate production of              222.00
                                            documents responsive to DOJ
                                            third-party subpoena
08/15/17     A. R. Cashman         0.30     Draft letter to DOJ enclosing         111.00
                                            production
08/17/17     A. R. Cashman         0.10     Send production to DOJ and              37.00
                                            Southern's counsel
08/18/17     A. R. Cashman         0.20     Coordinate with E. Schneider            74.00
                                            and L. Campagna regarding
                                            production
                           TOTAL FEES                 3.30 hrs              $    1,221.00


                                TIMEKEEPER SUMMARY

A. R. Cashman                       2.60 hrs at    $       370.00 / hr             962.00
J. A. Chiccarino                    0.70 hrs at    $       370.00 / hr             259.00
                           TOTAL FEES                  3.30 hrs            $     1,221.00



                          DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                     AMOUNT
ESI Conversion                                                                    43.65
Long Distance Courier                                                             22.79
                           DISBURSEMENTS & OTHER CHARGES                   $       66.44
